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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS

 WALTER RAUDONIS, as trustee for the
 WALTER J. RAUDONIS 2016 REVOCABLE
 TRUST, BRAD HONEYCUTT, DAVID
 HOLLAND and JEREMY DAVIS,
 individually and on behalf of all others
 similarly situated,

                          Plaintiffs,       Civil Action No. 1:20-cv-10107-PBS
          v.

 REALTY SHARES, INC., RS LENDING,
 INC., NAVJOT ATHWAL, EDWARD
 FORST, IIRR MANAGEMENT SERVICES,
 LLC, and JOHN DOES I-VII,

                          Defendants.



                           STIPULATION AND ORDER




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          WHEREAS, on April 8, 2020, Defendants RealtyShares, Inc., RS Lending, Inc., Navjot

Athwal, and Edward Forst (the “RealtyShares Defendants”) filed two motions—one to compel

arbitration and the other to dismiss this case under Rule 12(b) (the “RealtyShares Motions”);

          WHEREAS, on April 8, 2020, Defendant IIRR Management Services, LLC (“IIRR”)

filed a motion to dismiss this case under Rule 12(b) (the “IIRR Motion,” and with the

RealtyShares Motions, the “Motions”);

          WHEREAS, on July 15, 2020, the Defendants filed an unopposed motion to continue the

deadline to file replies in support of their pending Motions (collectively, the “Replies”);

          WHEREAS, those Replies are currently due on August 10, 2020;

          WHEREAS, on July 31, 2020, Defendant RealtyShares, Inc. filed a petition for

bankruptcy under Chapter 7 of the United States Bankruptcy Code, see Dkt. 48-1 (the

“Bankruptcy Petition”);

          WHEREAS, under 11 U.S.C. § 362, as a result of the Bankruptcy Petition, all legal

proceedings against RealtyShares, Inc. are subject to an automatic stay;

          WHEREAS, on August 7, 2020, IIRR filed a motion to suspend all existing deadlines in

light of the Bankruptcy Petition (the “IIRR MTS”);

          WHEREAS, the remaining RealtyShares Defendants intend to file a motion to stay;

          WHEREAS, Plaintiffs have indicated that they intend to respond to these motions;

          WHEREAS, counsel have met and conferred and—in the interest of preserving judicial

and party resources—have agreed to continue the deadline for the Replies so that they can seek

the Court’s guidance on the stay question;

          NOW, THEREFORE, the parties hereby STIPULATE THAT:

          The deadline for Defendants’ Replies on previously-filed Motions is hereby continued




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until five (5) court days after the Court determines whether, and the extent to which, these

proceedings should be stayed in light of RealtyShares’s bankruptcy petition.

          Defendants shall file their motion to stay by August 24;

          Plaintiffs shall file a joint opposition to Defendants’ motion to stay and IIRR’s MTS by

September 7; and

          Defendants shall file reply briefs in support of the motions to stay by September 14.




                                                   Respectfully submitted,

Dated: August 10, 2020                             SHAPIRO HABER & URMY LLP


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                                                   HOLLAND and JEREMY DAVIS




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Dated: August 10, 2020                   KEKER, VAN NEST & PETERS LLP


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Dated: August 10, 2020                   KROLL, MCNAMARA, EVANS &
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IT IS SO ORDERED:


                                         HON. PATTI B. SARIS




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                                     CERTIFICATE OF SERVICE

          I hereby certify that this document filed through the CM/ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

on August 10, 2020.


                                                     /s/R. Adam Lauridsen
                                                     R. ADAM LAURIDSEN




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